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         EXHIBIT A
                    Case 1:19-cr-10080-NMG Document 2312-1 Filed 09/29/21 Page 2 of 3
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                  Gamal Abdelaziz, et al
                              Defendant


                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

7R    Steven Masera




        YOU ARE COMMANDEDWRDSSHDULQWKH8QLWHG6WDWHVGLVWULFWFRXUWDWWKHWLPHGDWHDQGSODFHVKRZQ
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3ODFHRI$SSHDUDQFH United States District Court                                      &RXUWURRP1R   4
                               District of MA
                                                                                       'DWHDQG7LPH   September 24, 2021 at 9:00 a.m
                               1 Courthouse Way Boston, MA

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applicable)




          (SEAL)


'DWH          09/16/2021
                                                                                       CLERK OF COURT


                                                                                                 Signature of Clerk or Deputy Clerk



7KHQDPHDGGUHVVHPDLODQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party)                        John Wilson and Gamal Abdelaziz
                                       ZKRUHTXHVWVWKLVVXESRHQDDUH
 Lauren Papenhausen,White & Case, LLP 75 State Street, 24th Floor, Boston, MA
 Joshua Sharp, Nixon Peabody LLP, 53 State Street, Boston, MA 02109
                    Case 1:19-cr-10080-NMG Document 2312-1 Filed 09/29/21 Page 3 of 3
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                                                                 PROOF OF SERVICE

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'DWH
                                                                                                     Server’s signature



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